            Case 2:09-cr-00170-GEB Document 51 Filed 02/02/12 Page 1 of 3


 1   BENJAMIN B. WAGNER
     Acting United States Attorney
 2   SAMUEL WONG
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2772
 5
 6
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )   No. 2:09-CR-0170-GEB
                                          )
12               Plaintiff,               )   STIPULATION AND ORDER AND
                                          )   CONTINUING TRIAL
13         v.                             )   CONFIRMATION HEARING
                                          )
14   ROBERT L. CARR, and                  )
     THERESA ANN CARR,                    )   Court:   Hon. Garland Burrell
15      aka Teresa Carr,                  )
        aka Teri A. Carr,                 )
16                                        )
                 Defendants.              )
17                                        )
                                          )
18                                        )
19         It is hereby stipulated and agreed by the parties, through
20   their respective counsel, that the previously set January 27,
21   2012, trial confirmation hearing shall be continued to February
22   17, 2012, at 9:00 a.m., to allow defense counsel to review
23   additional discovery before the trial confirmation hearing.            The
24   parties acknowledge that the Court has previously excluded time
25   within which the trial of this case must be commenced under the
26   Speedy Trial Act up, and including, the trial date of March 13,
27   ///
28   ///

                                         1
              Case 2:09-cr-00170-GEB Document 51 Filed 02/02/12 Page 2 of 3


 1   2012, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv)
 2   and Local Codes T2 (unusual and complex case) and T4 (defense
 3   preparation).
 4   Dated:    February 1, 2012                Respectfully submitted,
 5                                             DANIEL BRODERICK
                                               Federal Defender
 6
                                               /s/ Douglas Beevers
 7                                             ________________________
                                               DOUGLAS BEEVERS
 8                                             Assistant Federal Defender
                                               Attorney for Defendant
 9                                             THERESA ANN CARR
10
                                               /s/ Michael Long
11                                             ___________________________
                                               MICHAEL LONG
12                                             Attorney for defendant
                                               Robert Carr
13                                             (per telephone authorization)
14
                                               BENJAMIN B. WAGNER
15                                             United States Attorney
16                                              /s/ Samuel Wong
                                         By:   ___________________________
17                                             SAMUEL WONG
                                               Assistant U.S. Attorney
18
19
20
21
22
23
24
25
26
27
28

                                           2
              Case 2:09-cr-00170-GEB Document 51 Filed 02/02/12 Page 3 of 3


 1                                       ORDER
 2        The Court, having received, read, and considered the
 3   stipulation of the parties, and good cause appearing therefrom,
 4   adopts the stipulation of the parties in its entirety as its
 5   order.    The new trial confirmation hearing date shall be held on
 6   February 17, 2012, at 9:00 a.m., and the previously set March 13,
 7   2012, at 9:00 a.m., trial date shall remain as previously set.
 8   Dated:    February 1, 2012
 9
10                                    GARLAND E. BURRELL, JR.
11                                    United States District Judge

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           3
